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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



 ROTHSCHILD BROADCAST DISTRIBUTION                          CASE NO. 6:15-CV-227-RWS-JDL
 SYSTEMS, LLC,

                Plaintiff,
                                                            JURY TRIAL DEMANDED
         v.

 DISCOVERY COMMUNICATIONS, INC.,

                Defendant.




     .                                           ORDER

         Came for consideration before the Court is the Stipulation of Dismissal with Prejudice of

 Defendant Discovery Communications, Inc., pursuant to Fed. R. Civ. P. 41(a) filed by Plaintiff

 Rothschild Broadcast Distribution Systems, LLC. Upon consideration of the same, the Court is

 of the opinion that the Dismissal of Defendant Discovery Communications, Inc., with prejudice

 should be GRANTED.

         It is further ORDERED that each party is to bear its own attorneys’ fees and costs.

         SIGNED this 14th day of October, 2015.




                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE
